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                           UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK

PAUL NICKLEN and
CRISTINA MITTERMEIER,
                   Plaintiffs,                                     Case 1:20-cv-10300-JSR

v.                                                                 CASE MANAGEMENT
                                                                   ORDER (Rule 23)
MASHABLE, INC., et. al,
                             Defendants.



        After consultation with counsel for the parties that have appeared in this action, are still
parties to this action and participated in the drafting of this Plan, the following Case Management
Plan is adopted. This plan is also a scheduling order pursuant to Rules 16 and 26(f) of the
Federal Rules of Civil Procedure.

     A.    This case is to be tried to a jury.
     B.    Plaintiffs shall file a further amended complaint by February 24, 2021.
     C.    Joinder of additional parties must be accomplished by March 4, 2021.
     D.    Defendants' response(s) to the operative complaint are due March 8, 2021. Plaintiffs'
           response(s) to any motion(s) to dismiss are due March 22, 2021. Defendants may file
           reply brief(s) no later than March 29, 2021. The Court will hear oral argument on any
           motions to dismiss on April 7, 2021 at 3:45 p.m. Counsel shall jointly call Chambers
           by March 30, 2021 to state their preferences regarding whether the proceeding should
           take place in person or remotely.
     E.    Plaintiffs' class certification motion must be filed by June 11, 2021. Any opposition
           to plaintiffs' class certification motion must be filed by June 25, 2021. Any reply
           brief must be filed by July 1, 2021. The Court will hear oral argument on the class
           certification motion July 8, 2021 at 4:00 p.m. in Courtroom 14B.
     F.    Discovery (in addition to the disclosures required by Fed. R. Civ. P. 26(a)):
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    1. Documents. First request for production of documents, if any, must be served
       by March 1, 2021. Further document requests may be served as required, but
       no document request may be served later than 30 days prior to the date of the
       close of discovery as set forth below.

    2. Interrogatories. Interrogatories pursuant to Rule 33.3(a) of the Local Civil
       Rules of the Southern District of New York must be served by March 1,
       2021. No other interrogatories are permitted except upon prior express
       permission of Judge Rakoff. No Rule 33.3(a) interrogatories need be served
       with respect to disclosures automatically required by Fed. R. Civ. P. 26(a).

    3. Experts. Every party-proponent of a claim (including any counterclaim, cross-
       claim, or third-party claim) that intends to offer expert testimony in respect of
       such claim must make the disclosures required by Fed. R. Civ. P. 26(a)(2)
       within 90 days of the initial conference. Every party-opponent of such claim
       that intends to offer expert testimony in opposition to such claim must make
       the disclosures required by Fed. R. Civ. P. 26(a)(2)(2) within 30 days after the
       disclosures required by Fed. R. Civ. P. 26(a)(2). No expert testimony (whether
       designated as "rebuttal" or otherwise) will be permitted by other experts or
       beyond the scope of the opinions covered by the aforesaid disclosures except
       upon prior express permission of the Court, application for which must be
       made no later than 10 days after the date specified in the immediately
       preceding sentence. All experts may be deposed, but such depositions must
       occur within the time limit for all depositions set forth below.

    4. Depositions. All depositions (including any expert depositions, see item 3
       above) must be completed by July 19, 2021. Unless counsel agree otherwise
       or the Court so orders, depositions shall not commence until all parties have
       completed the initial disclosures required by Fed. R. Civ. P. 26(a)(l) or until
       four weeks from the date of this Order, whichever is earlier. Depositions shall
       proceed concurrently, with no party having priority, and no deposition shall
       extend beyond one business day without leave of the Court.

    5. Requests to Admit. Requests to Admit, if any, must be served no later than 30
       days prior to date of close of discovery as set forth in item 6 below.

    6. All discovery is to be completed by July 19, 2021. Interim deadlines for items
       1-5 above may be extended by the parties on consent without application to the
       Court, provided the parties are certain they can still meet the discovery
       completion date set forth in this paragraph. The discovery completion date
       may be adjourned only upon a showing to the Court of extraordinary
       circumstances, and may not be extended on consent.
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  I.     Post-discovery summary judgment motions in the form prescribed by the Court's
         Individual Rules of Practice may be brought on without further consultation with the
         Court provided that a Notice of any such motion, in the form specified in the Court's
         Individual Rules of Practice, is filed no later than one week following the close-of­
         discovery date (Item H-6 above) and provided that the moving papers are served by
         July 26, 2021, answering papers by August 13, 2021, and reply papers by August 23,
         2021 [the last of these days being no later than six weeks following the close of
         discovery]. Each party must file its respective papers with the Clerk of the Court on
         the same date that such papers are served. Additionally, on the same date that any
         papers are served and filed, counsel filing and serving the papers must arrange to
         deliver courtesy non-electronic hard copies to the Courthouse for delivery to
         Chambers.

  J.     A final pre-trial conference, as well as oral argument on any post-discovery summary
         judgment motions, shall be held on _August 30, 2021 at 11 a.m. in Courtroom
         14B___ [date to be inserted by the Court], at which time the Court shall set a firm
         trial date. The timing and other requirements for the Joint Pretrial Order and/or other
         pre-trial submissions shall be governed by the Court's Individual Rules of Practice.

  K.     All motions and applications shall be governed by Judge Rakoff's Individual Rules of
         Practice. Counsel shall promptly familiarize themselves with all of the Court's
         Individual Rules, as well as with the Local Rules for the United States District Court
         for the Southern District of New York.

       SO ORDERED.


                                                                 JED S. RAKOFF
DATED:       New York, New York                                      US.DJ.
             February 18, 2021
